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                 UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF MARYLAND

SALLYE PURYEAR          *
                        *
       Plaintiff,       *
                        *
v.                      * Civil Case No.: AW-05-2993
                        *
GORDON R. ENGLAND       *
Secretary of the Navy   *
Office of the Secretary *
                        *
       Defendant.       *
***********************************************

        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION
          TO DISMISS OR FOR SUMMARY JUDGMENT &
           CROSS MOTION FOR SUMMARY JUDGMENT

      Plaintiff, Ms. Sallye M. Puryear, by and through her counsel, Reverend Rickey

Nelson Jones, pursuant to Local Rule 105, responds to Defendant’s “Motion To Dismiss

Or For Summary Judgment” and cross moves for summary judgment. As grounds for her

response and cross motion, she says:

                                        FACTS

      1. On July 29, 2002, Default Judgment was entered for Plaintiff against the

Defendant by the Equal Employment Opportunity Commission (hereinafter “EEOC”).

Moreover, the Administrative Judge found “as a matter of fact and law, the Agency did

discriminate against Complainant as alleged.” Exhibit “A” of Complaint, page 2.

      2. Inconsistent with the Agency’s statement in its “Motion To Dismiss Or For

Summary Judgment” (hereinafter “MDSM”) that it was only required to notify the Office
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of Personnel Management of the retroactive promotion (page 5, last paragraph, of

“MDSM”), the “Order of Remedies From Default Judgment” ordered the Agency to both

[1] notify the Office of Personnel Management (hereinafter “OPM”) to change its records

to reflect Plaintiff’s promotion (Exhibit “B” of Complaint, page 3) and [2] make all

necessary adjustments to Complainant’s retirement accounts (Exhibit “B” of Complaint,

page 8).

       3. Since Plaintiff’s retirement funds are directly based on adjustments to her

retirement accounts (Exhibit 15 of “MDSM,” second paragraph), it was necessary for the

Defendant to work hand-in-hand with the Social Security Administration (hereinafter

“SSA”) to make adjustments needed for Plaintiff’s proper retirement payments. This

was not done, producing reliance by SSA on annual salaries below GS-13, step 4, from

1999 to 2002, in determining Plaintiff’s SSA funds. Attached Exhibits “A-1 through

A-4" (specifically, A-4)1

Defendant’s Failures Regarding Plaintiff’s Retirement Payments

       4. According to Defendant’s own admission in its “MDSM,” Plaintiff’s retirement

income was not adjusted. Defendant admits as follows, “Plaintiff sent another letter to



       1
         SSA’s document (Attached Exhibit “A-4”) shows reliance on annual salaries
below GS-13, step 4, in 1999, 2000, and 2001 to determine social security payments
for Plaintiff even though the EEOC 2002 decision required retroactive promotion
for Plaintiff, effective 1999. Specifically, SSA used $57,695.82, $60,977.95, and
63,304.62 for 1999, 2000, and 2001 respectively. The Defendant should have
informed SSA to use $63,829 for 1999, $64,949 for 2000, and $69,534 for 2001;
these salaries represent GS-13, step 4, salaries for those years.
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the Navy, dated February 27, 2004, complaining that her retirement income had not been

adjusted. Exhibit 10. Evidently, while the Navy in 2003 provided OPM with the

information regarding Plaintiff’s retroactive promotion to a GS-13 level, OPM failed to

process it and her retirement payments continued to be based on her GS-12 salary.” (page

4, last paragraph, of MDSM). (emphasis added).

       5. Defendant further admits that in March 2004 a Ms. Cabanayan traced the case at

OPM and discovered it was assigned to a Ms. Deborah St. Claire, and “no processing had

occurred as Ms. St. Claire believed that the case had been assigned to her in error since

she dealt with divorced annuitants only and because she could not locate the file.” (page

5, first sentence, of MDSM).

       6. On pages 5 and 6 of MDSM, Defendant references an April 20, 2004 letter to

Plaintiff about adjustments to her retirement and a lump sum payout. (Exhibit 15 of

MDSM). However, the letter fails to address or remedy the problem for a FERS retiree.

       7. FERS retirees have retirement consisting of [a] social security benefits, [b] basic

benefit plan (pension), and [c] thrift savings plan. Attached Exhibits “B1 & B-2”

(specifically, B-2). Hence, retirement income for Plaintiff is a triple matter -- social

security, pension, and thrift savings.

       8. Defendant’s April 20, 2004 letter is inadequate in making Plaintiff “whole.”

One, the correction to Plaintiff’s pension is one year and four months late, without

compensation for interest on her money (minimally, Plaintiff must receive prevailing
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interest on the money improperly withheld). Two, it fails completely to address the

inadequate social security payments received by Plaintiff.

Defendant’s Failure Regarding Posting

       9. Defendant states that it complied with the posting order when a Captain Barnett

claimed to have posted the Notice to Employees, providing a Declaration to this effect.

(page 6 of MDSM & Exhibit 16 of MDSM).

       10. The Declaration of Captain Barnett fails to indicate the exact date of the

posting or the exact dates such posting remained in place. (Exhibit 16 of MDSM).

Without such, it cannot be determined that a posting took place.

       11. A ten year employee of the Defendant, who not only worked with Plaintiff but

was also familiar with Plaintiff’s legal problems with Defendant, personally [a] looked

for the posting (after EEOC’s December 2002 decision) in the exact location Captain

Barnett claims to have place it, [b] asked other employees if they had seen it, and [c] even

inquired about the posting with a Commander. The posting was never seen or found.

Attached Exhibits “C-1 & C-2". This has also been “echoed” by a Lieutenant

Commander of the United States Navy. Attached Exhibits “C-3 & C-4"

                    MEMORANDUM OF LAW (& ARGUMENT)

U.S. District Court’s Jurisdiction In This Case

       42 U.S.C. 2000e (f)(1) explicitly provides Plaintiff with the right to bring a civil

action against the Defendant herein. 42 U.S.C. 2000e (f)(3) explicitly provides the
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United States District Courts with jurisdiction in actions brought under its subtitle. 42

U.S.C. 2000e (g)(1) empowers United States District Courts with the power to [a] enjoin,

[b] order affirmative action, [c] reinstate employees with back pay, and [d] impose any

other equitable relief the court deems appropriate. Generally, regarding 28 U.S.C. 1651,

case law shows its harmony with established law.

       In Central South Carolina Chapter v. United States District Court for District of

South Carolina, 551 F.2d 559 (4 th Cir. 1977), a United States District Court entered an

order prohibiting participants (including lawyers, parties, witnesses, jurors, court

officials) in a criminal trial from [a] making extrajudicial statements which might divulge

prejudicial matter not of public record, [b] mingling with or being in proximity to

reporters and photographers in the environs of the court, [c] releasing names and

addresses of prospective jurors, [d] sketching or photographing of jurors within the

environs of the court, and [e] holding news interviews (i.e., witnesses could not) during

the trial period. In giving an affirmative answer to the question of whether the District

Court could indirectly prevent the press from obtaining information by regulating trial

procedures and ordering the trial participants not to speak with members of the press, the

United States Court of Appeals for the Fourth Circuit said that a writ of mandamus will

issue where the duty to be performed is ministerial and the obligation to act plainly

defined, such duty being always clear and indisputable. See. United States v. Wilbur,

283 U.S. 414, 51 S. Ct. 502, 75 L. Ed. 1148 (1931).
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       Plaintiff’s Complaint seeks to fully enforce a 2002 decision in her favor by the

EEOC. There exist no dispute about the decision, the remedy, or Plaintiff’s entitlement.

42 U.S.C. 2000e (f) & (g) provides the United States District Court with the jurisdiction

and authority to grant all requested relief in Plaintiff’s Complaint, and 28 U.S.C. 1651

“backs up” that authority due to the clear and indisputable law (42 U.S.C. 2000e) and

duty herein.

Plaintiff’s Remedy & Entitlement

       The December 2002 decision in Plaintiff’s favor provided for six specific remedial

actions (Exhibit “B” of Complaint, page 8). The revising of Plaintiff’s official personnel

folder to reflect her GS-13 (remedial action #1), paying Plaintiff back pay differential

from June 20, 1999 to March 20, 2002 (remedial action #2), paying Plaintiff $15,000 in

non-pecuniary compensation damages (remedial action #4), and paying Plaintiff

$22,288.73 for attorney’s fees and litigation costs (remedial action #5), are not the subject

of Plaintiff’s present Complaint. The Complaint concerns remedial action #3 and

remedial action #6, i.e., [1] making all necessary adjustments to Plaintiff’s retirement

accounts and [2] posting the Notice to Employees that they are to be free from

discrimination, respectively.

       The remedial action requiring Defendant to make all necessary adjustments to

Plaintiff’s retirement accounts must, at a minimum, assure correct retirement payments to

Plaintiff. As mentioned above, Plaintiff’s retirement is a triple matter – social security,
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pension, and thrift savings. From 1999 to 2002, according to SSA documentation

(Attached Exhibit “A-4”), Plaintiff’s social security payments are based on annual

salaries below GS-13, step 4. Plaintiff was retroactively promoted to a GS-13 according

to the December 2002 EEOC decision in her favor. The Defendant had an obligation to

make all necessary adjustments to Plaintiff’s retirement accounts such that SSA’s records

recognize the GS-13 and respond accordingly. The Defendant has argued that it had no

greater obligation than to adjust its records and notified OPM. In light of the remedy

granted to Plaintiff, this argument is at best untenable and at worst silly. Since Plaintiff’s

retirement unquestionably includes social security funds (Attached Exhibit “B-2”), if the

funds are incorrect due to Defendant’s non-action or non-sufficient-notification, all

necessary adjustments have not been made. Hence, Plaintiff has not received her

remedy per the EEOC 2002 decision. This fact, alone, prevents dismissal or summary

judgment for Defendant and dictates summary judgment for Plaintiff.

         Regarding Defendant’s subject matter jurisdiction argument, it also fails. This

becomes clear with a review of Chacko v. Patuxent Institution, 429 F.3d 505 (4 th Cir.

2005).

         In Chacko v. Patuxent Institution, the court held that a Plaintiff fails to exhaust his

administrative remedies where his administrative charges (specific confrontation with

supervisors not involving national origin slurs) reference different time frames, actors,

and discriminatory conduct than the central factual allegations in his formal suit (co-
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workers calling Chacko national origin epithets with supervisory acquiescence). Hence,

the district court lacked subject matter jurisdiction and should have granted Patuxent’s

motion for judgment as a matter of law. See. Dennis v. County of Fairfax, 55 F.3d 151

(4 th Cir. 1995); Evans v. Techs. Applications & Serv. Co., 80 F.3d 954 (4 th Cir. 1996).

       Plaintiff’s social security benefits are inseparably connected to her retirement and

hence her remedy. Consequently, the references to retirement in the December 2002

EEOC decision in Plaintiff’s favor indubitably encompass corrected social security

payments. To conclude otherwise would undermine the very remedy awarded. Proper

retirement was addressed by the Administrative Judge in the December 2002 EEOC

decision because it was part of Plaintiff’s original EEOC Charge of Discrimination in

seeking the promotion she was unlawfully deprived of. Therefore, the United States

District Court has this matter properly before it for consideration.

       Finally, the matter about the Notice to Employees was one of the remedial actions

Defendant was required to take. While Defendant has provided a Declaration from a

Capt. P. J. Barnett (Exhibit 16 of MDSM), the Declaration fails to provide any dates for

the posting or period the posting was up. Not only has no one familiar with Plaintiff’s

ordeal seen the posting in the location Capt. Barnett claims it was posted, but no one un-

familiar with Plaintiff’s ordeal has seen it. Attached Exhibits “C-1 through C-4”. If a

remedy of Plaintiff’s is mysteriously never seen, how is it a real remedy? It is not. At a

minimum, Capt. Barnett should have provided a date certain of the posting and its
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duration. Plaintiff should not be uncertain about a certain remedy when Defendant is

obligated to provide it. Consequently, dismissal or summary judgment for the Defendant

is impossible based on Capt. Barnett’s insufficient Declaration. Summary judgment for

Plaintiff is warranted on this matter also.

Standard For Summary Judgment

       Summary judgment is appropriate “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there

is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” Fed. R. Civ. P. 56(c). When a motion for summary

judgment has been filed against the Plaintiff, he may successfully defeat such a motion by

presenting evidence sufficient enough for a jury to rule in his favor. In Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 91 L.Ed 2d 202, 106 S.Ct. 2505 (1986), the Supreme

Court said,

       [T]he Plaintiff, to survive the Defendant’s motion, need only present
       evidence from which a jury might return a verdict in his favor. If he does
       so, there is a genuine issue of fact that requires a trial.

Anderson, 91 L.Ed 2d at 217.

The Supreme Court defined, at page 212, the judge’s role once a motion for summary

judgment has been filed. At the moment a summary judgment motion is filed, the judge

is not to weigh the evidence like a jury but merely to determine if there is a genuine issue

for trial. The Court said,
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       [I]t is clear enough from our recent cases that at the summary judgment
       stage the judge’s function is not himself to weigh the evidence and
       determine the truth of the matter but to determine whether there is a genuine
       issue for trial . . . . [T]here is no issue for trial unless there is sufficient
       evidence favoring the nonmoving party for a jury to return a verdict for that
       party.

Anderson, 91 L.Ed 2d at 212.

       Herein, the Defendant has sought dismissal or summary judgment but, as

demonstrated above, this court has both jurisdiction and evidence to deny Defendant’s

requests and grant summary judgment to Plaintiff. It is both a fact and an admission by

Defendant that Plaintiff’s retirement payments were, at a time, based on a GS-12 when it

should have been based on a GS-13 (paragraphs 4 and 5 above). It is both a fact and an

admission by Defendant that Plaintiff’s inadequate retirement/pension payments did not

get corrected until April 20, 2004, one year and four months late (paragraphs 6 and 8).

Since Plaintiff has not received interest on her money, minimally, she has not been “made

whole” concerning her retirement income. Presently, interest is due Plaintiff covering

approximately three years and four months. Specifically, the underpaid retirement

payment on which three years and four months of interest is to be calculated is $1,122.00

(Exhibit 15 of MDSM). Plaintiff is entitled to summary judgment on this amount since

no genuine issue of material fact exist on it.

       Because social security is an indispensable part of Plaintiff’s retirement and SSA’s

records show reliance on annual salaries below the GS-13, step 4, level (Attached

Exhibit “A-4”), Defendant failed to do that which was necessary to assure adjustments
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needed for proper retirement payments to Plaintiff. No genuine issue of material fact

exist on this failure by Defendant, and consequently, Plaintiff is entitled to summary

judgment on this.

       Since [a] Capt. Barnett failed to provide a date of posting (Exhibit 16 of MDSM),

[b] failed to provide a period of posting (Exhibit 16 of MDSM), and [c] a ten year

employee and a Lieutenant Commander have never seen any posting after making an

effort to find such (Attached Exhibits “C-1 through C-4”), no genuine issue of material

fact exist that there was ever a posting. Hence, Plaintiff is entitled to summary judgment

on this as well.

Attorney’s Fees To Accompany Summary Judgment For Plaintiff

       In August 2003, Plaintiff began communicating with Defendant’s officials

regarding full compliance with the 2002 EEOC Decision. Thereafter, communication and

letter writing to the EEOC Judge (and others) continued until a formal EEOC Appeal was

filed on April 8, 2004 to force full compliance by Defendant. The details of attorney’s

fees and costs are outlined, with particularity, in Plaintiff’s Expense Accounting

(Attached Exhibit “D”). Since every expense of Plaintiff’s outlined in Exhibit “D”

derive from Defendant’s violation of the 2002 EEOC Decision, 42 U.S.C. 2000e’s grant

of authority to the United States District Court to “order affirmative action” and “impose

any other equitable relief the court deems appropriate” allows Plaintiff to recover the

money she has needlessly spent. Indeed, a cursory review of the Plaintiff’s Expense
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Accounting will demonstrate the great lengths undertaken by Plaintiff and her counsel to

merely get Defendant to do what EEOC ordered.

                                       Conclusion

       For the aforementioned reasons, Plaintiff respectfully requests that Defendant’s

motion to dismiss or for summary judgment be denied and Plaintiff’s cross motion for

summary judgment be granted, awarding all relief requested in her Complaint, along with

the updated attorney’s fees and costs outlined in Exhibit “D.”




                                                 Respectfully submitted,

                                                     /s/    Rev. Rickey Nelson Jones
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                  UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MARYLAND

SALLYE PURYEAR          *
                        *
       Plaintiff,       *
                        *
v.                      * Civil Case No.: AW-05-2993
                        *
GORDON R. ENGLAND       *
Secretary of the Navy   *
Office of the Secretary *
                        *
       Defendant.       *
************************************************

                                         ORDER

       Upon “Plaintiff’s Response To Defendant’s Motion To Dismiss Or For Summary

Judgment & Cross Motion For Summary Judgment,” it is this         day of            ,

2006, by the United States District Court for the District of Maryland

       ORDERED that

[A]    Defendant’s Motion To Dismiss Or For Summary Judgment is DENIED, and

[B]    Plaintiff’s Cross Motion For Summary Judgment is GRANTED.




                                                 ALEXANDER WILLIAMS, JR.
                                                 United States District Judge
